     Case 3:13-cr-00412-L      Document 102         Filed 06/25/14     Page 1U.S.
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                                 NORTHERN DISTRICT OF TE}tAS
                                   DALLAS DIVISION DIVISIO ~
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UNITED STATES OF AMERICA,                                                  C~~RK, U.S1f:J?!CT C01JRT
                                                §
               Plaintiff,                       §                                     Dcpnty         -
                                                                     ·-=------------------
                                                §    3:13-CR-00412-P
v.                                              §
                                                §
RAUL ROBERTO RAMIREZ (2)                        §
                                                §
                       Defendant.               §


                    ORDER ACCEPTING REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE
                             CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge, and no objections thereto having been filed within fourteen

days of service in accordance with 28 U.S.C. § 636(b)(l), the undersigned District Judge is of the

opinion that the Report and Recommendation ofthe Magistrate Judge concerning the Plea of Guilty is

correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty. Sentence will be imposed in accordance with the Court's

scheduling order.

        SO ORDERED.

        Signed this 25th day of June, 2014.




                                                      UNITED STATES DISTRICT JUDGE
